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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

     Plaintiffs,                          Case No. 1:18-cv-00950-LO-JFA

v.

COX COMMUNICATIONS, INC., et al.,

     Defendants.


                    PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
                   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                  CITATION GUIDE


  Citation               Description
  Abitbol                Declaration of Michael Abitbol (attached)
  Bahun I                Declaration of Samuel Bahun originally submitted in support of
                         Plaintiffs’ Motion for Summary Judgment (ECF No. 325-6).
  Bahun II               Declaration of Samuel Bahun originally submitted in opposition
                         to Cox’s Motion for Discovery Sanctions (ECF No. 352-1)
  Blietz I               Declaration of Jeremy Blietz originally submitted in support of
                         Plaintiffs’ Motion for Summary Judgment (ECF No. 325-10)
  Blietz II              Declaration of Jeremy Blietz (attached)
  Frederiksen-Cross I    Declaration of Barbara Frederiksen-Cross originally submitted in
                         support of Plaintiffs’ Motion for Summary Judgment (ECF No.
                         325-7)
  Frederiksen-Cross II   Declaration of Barbara Frederiksen-Cross (attached)
  Glass                  Declaration of Jon Glass (attached)
  Gould                  Declaration of Jeffrey M. Gould (attached)
  Ikezoye                Declaration of Vance Ikezoye originally submitted in opposition
                         to Cox’s Motion to Discovery Sanctions (ECF No. 352-2)
  Kearney                Declaration of Thomas Kearney originally submitted in support of
                         Cox’s Motion for Summary Judgment
  Kokakis I              Declaration of David Kokakis originally submitted in support of
                         Plaintiffs’ Motion for Summary Judgment (ECF No. 325-8)
  Kokakis II             Declaration of David Kokakis (attached)
  Leak I                 Declaration of Wade Leak originally submitted in support of
                         Plaintiffs’ Motion for Summary Judgment (ECF No. 325-3)
  Leak II                Declaration of Wade Leak (attached)
  Lehr                   Declaration of William Lehr, Ph.D. originally submitted in
                         support of Plaintiffs’ Motion for Summary Judgment (ECF No.
                         325-11)
  Marks                  Declaration of Steven Marks originally submitted in opposition to
                         Cox’s Motion to Discovery Sanctions (ECF No. 352-3)




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  McCabe                Declaration of George P. McCabe, Ph.D. originally submitted in
                        support of Plaintiffs’ Motion for Summary Judgment (ECF No.
                        325-2)
  McMullan I            Declaration of Alasdair McMullan originally submitted in support
                        of Plaintiffs’ Motion for Summary Judgment (ECF No. 325-9)
  McMullan II           Declaration of Alasdair McMullan (attached)
  Patel                 Declaration of Anish Patel originally submitted in support of
                        Plaintiffs’ Motion for Summary Judgment (ECF No. 325-4)
  Poltorak              Declaration of Steven Poltorak originally submitted in support of
                        Plaintiffs’ Motion for Summary Judgment (ECF No. 325-5)
  Bates No.             Bates number of a document produced in this case
  BMG or BMG v. Cox     Case captioned BMG Rights Mgmt. (US) LLC v.Cox Commc'ns,
                        Inc., Civ. No. 14-cv-1611 (E.D. Va.)
  Cox                   Defendants CoxCom, LLC and Cox Communications, Inc.
  Depo. or Tr.          Transcript of a deposition taken in this case
  ECF No.               Document filed publicly via ECF in this case
  Interr.               Interrogatories
  Motion to Strike      Memorandum in Support of Plaintiffs’ Motion to Strike Portions
                        of the Declaration of Thomas Kearney (ECF No. 389)
  Rept.                 Report produced by an expert retained by any party




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         CORRELATION TABLE FOR STATEMENT OF ADDITIONAL FACTS

        The following table correlates the paragraph numbers of Cox’s proposed “undisputed”

 facts with the paragraphs in which they are denied or admitted in Plaintiffs’ Statement of

 Additional Material Facts in this Opposition.

        Plaintiffs’ responses are subject to an overarching objection to Cox’s use of the term

 “metadata,” which appears 29 times in 46 paragraphs. Cox confuses the record by repeatedly

 replacing specific technical terms such as “cryptographic hash” or “Bitfield” with “metadata,” a

 broad term that generally means data that provides information about other data. Plaintiffs

 admitted or denied Cox’s proposed facts using specific technical terms in place of “metadata.”

      Cox “Undisputed”        Responsive Fact Paragraph             Admitted or Denied
            Fact               in Plaintiffs’ Opposition
    Cox Fact 1                                                Admitted
    Cox Fact 2                40-41, 43                       Admitted in part, denied in part
    Cox Fact 3                40-41, 43                       Admitted in part, denied in part
    Cox Fact 4                30, 41                          Denied
    Cox Fact 5                1                               Admitted
    Cox Fact 6                2, 20, 31-33, 43                Admitted
    Cox Fact 7                                                Admitted
    Cox Fact 8                                                Admitted
    Cox Fact 9                2-3; Motion to Strike           Denied
    Cox Fact 10               6, 20                           Admitted
    Cox Fact 11               6-8                             Admitted
    Cox Fact 12               8                               Admitted
    Cox Fact 13               8                               Admitted in part, denied in part
    Cox Fact 14               8-9                             Admitted
    Cox Fact 15               8-9                             Admitted in part, denied in part
    Cox Fact 16               8-10                            Denied
    Cox Fact 17               8-9, 12-13, 16                  Admitted in part, denied in part
    Cox Fact 18               8-9, 12-13, 16                  Admitted in part, denied in part


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    Cox Fact 19         8-9, 12-13, 16                Admitted in part, denied in part
    Cox Fact 20         8-9, 12-13, 14, 16, 20        Admitted in part, denied in part
    Cox Fact 21         8-9, 16                       Admitted in part, denied in part
    Cox Fact 22         15-20                         Admitted in part, denied in part
    Cox Fact 23         8, 12-13, 16-18               Denied
    Cox Fact 24         7, 8, 12-14, 16, 20           Admitted in part, denied in part
    Cox Fact 25         8-10, 14                      Denied
    Cox Fact 26         8-10                          Admitted in part, denied in part
    Cox Fact 27         8-12, 23; Motion to Strike    Denied
    Cox Fact 28         7, 8-10, 12, 23               Admitted in part, denied in part
    Cox Fact 29         13, 16, 20                    Admitted in part, denied in part
    Cox Fact 30         13, 16, 20                    Admitted in part, denied in part
    Cox Fact 31         8, 12-13, 15-16, 23           Admitted in part, denied in part
    Cox Fact 32         13, 16                        Admitted in part, denied in part
    Cox Fact 33         13, 15, 16                    Admitted in part, denied in part
    Cox Fact 34         10, 13, 16, 23                Admitted in part, denied in part
    Cox Fact 35         8-13, 16                      Admitted in part, denied in part
    Cox Fact 36         8, 12-13, 16, 20, 23          Admitted
    Cox Fact 37         8, 12-13, 16, 20, 23          Admitted
    Cox Fact 38         2, 5-6, 20                    Admitted in part, denied in part
    Cox Fact 39         8, 12-13, 16, 20, 23          Admitted in part, denied in part
    Cox Fact 40         8, 12-13, 16, 20, 23          Admitted in part, denied in part
    Cox Fact 41         20                            Admitted
    Cox Fact 42         20                            Admitted
    Cox Fact 43         8, 12-13, 16, 20, 23          Denied
    Cox Fact 44         20                            Admitted in part, denied in part
    Cox Fact 45         20                            Admitted
    Cox Fact 46         2, 20, 22, Motion to Strike   Denied
    Cox Fact 47         1-2, 6, 20                    Admitted in part, denied in part
    Cox Fact 48         28, 41                        Admitted in part, denied in part




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                                        INTRODUCTION

         Cox raises one meritless argument after another in its motion for summary judgment. The

  record evidence and relevant law conclusively establish that Cox is liable for contributory and

  vicarious copyright infringement.    For years, Cox knew of massive copyright infringement

  occurring on its network and the identities of thousands of specific subscribers who were

  repeatedly infringing Plaintiffs’ copyrights. Yet Cox chose not to stop the infringement by

  terminating their accounts. Instead, Cox continued supplying these known repeat infringers with

  Internet service—the tool used to infringe—because it valued their rich monthly payments over its

  legal obligations. Each of Cox’s litany of summary judgment arguments should be rejected.

         First, in contending there is insufficient proof of direct infringement, Cox asks this Court

  to believe that each of the 57,679 specific Cox subscribers identified in MarkMonitor’s 163,148

  infringement notices to Cox in the Claim Period was falsely accused. That absurd proposition is

  flatly contradicted by the record. MarkMonitor, one of the top anti-piracy firms in the world,

  identified Cox subscribers using peer-to-peer (“P2P”) file sharing programs to upload and

  download files that were confirmed as infringing, and it has produced extensive evidence. There

  is no proof of a mistaken notice for any subscriber, much less a substantial number of them.

  Fearful of that record, Cox invents a groundless spoliation dispute regarding certain MarkMonitor

  evidence. Cox also baselessly argues that Plaintiffs have no evidence of an unlawful reproduction

  or distribution of any of the copyrighted works in suit. However, the uncontroverted evidence—

  including copies of the infringing files, MarkMonitor’s records of its interactions with Cox’s

  subscribers, and more—establishes that Cox’s subscribers engaged in direct infringement.

         Second, contrary to the Fourth Circuit’s decision in BMG v. Cox, Cox argues that

  knowledge of infringement requires knowledge of specific works infringed, rather than specific

  knowledge of infringing acts by particular subscribers. MarkMonitor’s infringement notices to
                                                  1
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  Cox identified the specific infringing subscribers, the specific infringing files, and a representative

  sample work infringed per file. Cox claims that it lacked knowledge for contributory infringement

  of the works that were contained in those infringing files but not listed in the notice as

  representative sample works infringed. Cox invents a world in which contributory liability can

  only attach when the direct infringer steals the same exact copyrighted work time and time again.

  However, it is Cox’s knowledge of an act of infringement by its subscriber, rather than the name

  of the work infringed, that satisfies the knowledge requirement.          Cox had specific enough

  information to do something about the infringers, and this meets the Fourth Circuit’s standard for

  knowledge.

         Third, for purposes of Cox’s contributory liability, Cox’s knowledge that a subscriber’s

  account is being used for infringement is enough. Regardless of whether the underlying direct

  infringement is through a Cox residential or business account, Plaintiffs are not required to uncover

  the precise identity of the individual engaged in the infringement. Indeed, for Plaintiffs to identify

  more than the particular accounts being used to infringe would require thousands of John Doe

  actions and related discovery, which would defeat a key purpose of secondary liability. That is

  neither feasible nor effective and, critically, it is not required to establish contributory liability.

  See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 929–30 (2005). In arguing

  otherwise with respect to direct infringement through Cox business accounts, Cox ignores that it

  already lost on this issue in the BMG case. The same result applies here.

         Fourth, Cox derived a direct financial benefit from the infringement. For establishing

  vicarious liability, this case presents the non-ordinary circumstance where continued collection of

  service fees is a direct financial benefit from the infringement. See Ellison v. Robertson, 357 F.3d

  1072, 1079 (9th Cir. 2004). Cox purposely chose



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                                           Cox’s own testimony, records, and emails acknowledge it.

  Cox also avoided costs it would have otherwise incurred had it acted responsibly and addressed

  the infringement. Finally, and critically, the evidence shows that the accounts of infringers –

  especially repeat infringers –

         Fifth, Cox’s arguments for limiting statutory damages each lacks merit. Cox ignores this

  Court’s determination in BMG that a per-work recovery is appropriate for infringement of works

  published as part of a compilation or collective work (album) and individually (track). That is the

  situation here and a per-work recovery applies. In addition, a sound recording and the musical

  composition it embodies are not a single work for purposes of calculating statutory damages.

  Cox’s effort to punish different rights holders of different infringed works for joining their claims

  in a single case, and force them instead to commence multiple separate cases, is contrary to the

  plain text of the Copyright Act and makes no sense.

               STATEMENT OF ADDITIONAL MATERIAL FACTS (“SOAF”)

         A. Background

         1.      Plaintiffs are 16 record labels (the “Record Company Plaintiffs”) and 37 music

  publishers (the “Music Publisher Plaintiffs”). The Record Company Plaintiffs are comprised of

  the Sony Music Plaintiffs, Universal Music Group Plaintiffs, and Warner Music Plaintiffs. The

  Music Publisher Plaintiffs are comprised of the Sony/ATV and EMI Publishers, Universal Music

  Publishing Group, and Warner Chappell Music Plaintiffs. 1 See Leak II ¶ 1; McMullan II ¶ 1; Glass

  ¶ 2; Blietz II ¶ 2; Kokakis II ¶ 1; Abitbol ¶ 2.



  1
    Footnotes 2 and 3 of Cox’s memorandum correctly identify the “Label Plaintiffs” and “Publisher
  Plaintiffs” except insofar as “EMI Blackwood Inc.” is actually “EMI Blackwood Music Inc.”


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         2.      Plaintiffs assert claims that accrued between February 1, 2013 (August 1, 2013 for

  the Sony/ATV and EMI Plaintiffs) and November 26, 2014 (the “Claim Period”). Plaintiffs allege

  that, during the Claim Period, Cox’s subscribers directly infringed 7,057 sound recordings and

  3,421 compositions, respectively, through P2P networks using Cox’s Internet service, and Cox is

  contributorily and vicariously liable. No Record Company Plaintiff asserted an interest in the

  musical compositions and no Music Publisher Plaintiff asserted an interest in the sound recordings.

  See Leak II ¶ 2; McMullan ¶ 2; Glass ¶ 3; Blietz II ¶ 3; Kokakis II ¶ 2; Abitbol ¶ 3.

         3.      The Record Company Plaintiffs protect their sound recordings via copyright

  registrations on Form SR, which allows applicants to register single or multiple sound recordings

  on a single form. For sound recordings in suit that were registered in conjunction with a

  compilation or collective work (album), the Record Company Plaintiffs own or exclusively control

  the copyright both in and to the album and the separate copyright in and to the individual sound

  recordings embodied on the albums. At the time of the infringement by Cox’s subscribers, those

  sound recordings were distributed both individually and as part of an album, and each copyrighted

  asset had its own economic value. See generally Leak I; McMullan I; Poltorak; see also Leak II ¶

  5; McMullan II ¶ 5; Glass ¶ 5; Gould Exs. 70, 71.

         4.      The Music Publisher Plaintiffs protect their musical compositions via copyright

  registrations on Form PA. See generally Blietz I ¶ 11; Kokakis I ¶ 8; and Patel ¶¶ 3-4.

         5.      A musical composition and a sound recording are two separate works, each with its

  own economic value. See Blietz II ¶¶ 6-11; Kokakis II ¶¶ 5-9; Abitbol ¶¶ 6-10; Leak II ¶¶ 5-9;

  McMullan ¶¶ 5-9; and Glass ¶¶ 5-9.

         B. Cox’s Users Directly Infringed Plaintiffs’ Works

         6.      To combat piracy, the Record Company Plaintiffs’ trade association, Recording

  Industry Association of America (“RIAA”), hired MarkMonitor to conduct certain anti-piracy
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  activities. MarkMonitor’s work included sending infringement notices to ISPs, including Cox, as

  to the ISP’s subscribers downloading and distributing infringing copies of sound recordings and,

  by necessity, the underlying musical compositions. See Gould Ex. 10 (Bahun I) ¶¶ 2, 4, 7.

            7.   MarkMonitor’s February 2012 contract and Statement of Work (“SOW”) with

  RIAA set forth the terms of MarkMonitor’s work on a

  Kearney Ex. 23 (2012 SOW). The contract defined the                                      services

  MarkMonitor was to provide, and expressly stated that,

                                                               Id. Later SOWs included the same

  language.                                                                While the possibility of

  litigation theoretically existed, and the contract included a routine provision on recordkeeping,

  litigation was not anticipated. The purpose of the notice program was to move away from litigation

  against P2P end users, and work with ISPs to address the problem of infringement by their

  subscribers. See Id.; Gould Ex. 16 (Bahun II) ¶¶ 11-14; Gould Ex. 18 (Marks) ¶¶ 5-6.

            8.   From 2008 through 2014, MarkMonitor searched for potentially infringing files

  being copied and distributed on P2P networks for RIAA. Upon the first instance of encountering

  a file,




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                                                                       See Gould Exs. 10 (Bahun I)

  ¶ 15; 16 (Bahun II) ¶¶ 10, 15–17; 11 (Frederiksen-Cross I) ¶ 30; 68 (Audible Magic data).

         9.     When Audible Magic found a match,

                                                                         MarkMonitor retained that

  data. Any other data that Audible Magic provided was superfluous to the “yes” or “no” question

  of whether an unknown audio file matched a reference fingerprint in Audible Magic’s database of

  copyrighted works. See Gould Exs. 16 (Bahun II) ¶ 17, 21-23; 17 (Ikezoye) ¶ 11, 13-15, 17-18.

         10.    In discovery,

                                                                                        The produced

  records include

                                See Gould Exs. 10 (Bahun I) ¶ 23; 16 (Bahun II) ¶ 18.

         11.    Cox contends that a document Audible Magic produced in discovery,

  REV0003444, is

                                         (Kearney Ex. 40.) At Audible Magic’s deposition, Cox did

  not authenticate the document or ask a single question about REV0003444 to understand what it

  purported to be or what it included. Cox asked general questions about a                    in the

  abstract but did not present the witness with a purported                       or confirm what

  document the witness had in mind. Audible Magic testified that



                                                        Gould Ex. 6 (Ikezoye Tr.) at 175:8–178:11.

  As a result, assuming REV0003444 is what Cox believes it to be,




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          12.     A cryptographic hash value is an alphanumerical representation of the contents of

  a file. Files with the same hash value are identical and will have the same contents, regardless of

  when downloaded. See Gould Exs. 10 (Bahun I) ¶¶ 10-11; 19 (Feamster Tr.) at 186:13–198:03;

  11 (Frederiksen-Cross I) ¶ 16.

          13.     Prior to sending Cox an infringement notice,




  In that process, Cox’s subscribers reported,




                                               MarkMonitor would then send infringement notices to

  Cox. The foregoing is depicted in several bodies of evidence collected

                                                                        See Gould Exs. 10 (Bahun I) ¶¶

  12-14, 16; 11 (Frederiksen-Cross I) ¶¶ 29, 31-32, 38-45; 19 (Feamster Tr.) at 203:13–204:07,

  227:25–228:11, 273:13–274:04, 275:11–279:16; 20.

          14.     MarkMonitor’s system was evaluated by independent consultants who “conducted

  an assessment of the MarkMonitor Methodologies for monitoring, verifying, and enforcing online


  2
   Plaintiffs have filed a motion to strike the REV0003444 document on the grounds that it is inadmissible,
  along with other improper testimony and documents in the Kearney Declaration filed in support of Cox’s
  summary judgment motion.


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  copyright infringement on P2P file sharing networks.”               They reported that MarkMonitor’s

  methodologies effectively identify P2P infringers, are well-developed, and include appropriate

  checks and balances to ensure accuracy, and its evidence collection is robust, defensible, and will

  withstand scrutiny or evidentiary challenges. See Kearney Ex. 25. 3

          15.     Cox has no evidence that, at the time MarkMonitor observed Cox’s subscribers on

  P2P networks, they had not already uploaded or downloaded content. Cox has no evidence that

  its subscribers lied to MarkMonitor about what they were “sharing.”

          16.     MarkMonitor’s records show that, for each and every infringing file that was the

  basis for an infringement notice to Cox,




                                  See Gould Exs. 10 (Bahun I) ¶ 10-11; 16 (Bahun II) ¶¶ 17-20; 11

  (Frederiksen-Cross I) ¶ 16; 19 (Feamster Tr.) at 186:13–198:03; Kearney Ex. 23 (2012 SOW).




  3
    This report evaluating MarkMonitor was prepared in the context of the Copyright Alert System
  (“CAS”). Plaintiffs intend to file a motion in limine to exclude evidence and argument concerning CAS.
  Plaintiffs nevertheless cite to the report here because it is necessary context for understanding and opposing
  Cox’s spoliation motion, which forms the foundation for several of Cox’s summary judgment arguments.


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         17.     P2P networks, including BitTorrent, operate on a “tit for tat” model where peers

  generally both upload and download files simultaneously. See Gould Exs. 11 (Frederiksen-Cross

  I) ¶ 22; 19 (Feamster Tr.) at 198:04–201:19; Kearney Ex. 18 (Feamster Rept.) at ¶ 71.

         18.     P2P networks, including BitTorrent, are designed so that instances of copying files

  between two peers are unobservable to anyone other than those two peers. As such, it was

  impossible for MarkMonitor (or any rights holder or vendor) to observe the number of times Cox’s

  subscribers downloaded and distributed confirmed infringing files. See Gould Exs. 10 (Bahun I)

  ¶ 14; 11 (Frederiksen-Cross I) ¶ 33; 21 (Tregillis Tr.) at 71:22–72:10.

         19.     When confronted with multiple users on a P2P network with the unique file,

  identified by its hash value, it is extremely likely that those users uploaded and downloaded the

  files on the P2P network. See Frederiksen-Cross II ¶¶ 10-11.

         20.     Between January 2012 and November 26, 2014, MarkMonitor sent Cox 260,873

  infringement notices. In the Claim Period alone, MarkMonitor sent Cox 163,148 infringement

  notices. All the notices were made under penalty of perjury and included the information required

  under the Digital Millennium Copyright Act, 17 U.S.C. § 512(c)(3)(A). Cox was informed of the

  identification of the Cox subscriber by IP address, the specific date and time of the infringing act,

  a cryptographic hash value pertaining to the file, a representative sample of what was infringed,

  and the P2P network used.

                See Gould Exs. 10 (Bahun I) ¶¶ 17-18, 21-22; 11 (Frederiksen-Cross I) ¶ 34; 56; 22

  (Beck Tr.) at 45:05-23, 9.

         21.     Upon receipt of MarkMonitor’s infringement notices,




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                        Cox’s records indicate that MarkMonitor’s notices in this case pertained to

  57,679 Cox subscribers: 54,886 (95%) were residential customers and 2,793 (5%) were business

  customers. See Gould Exs. 23 (Beck Decl.) at ¶ 3; 24 (Stipulated Order); 7 (McCabe) ¶ 8.

          22.     Each of Plaintiffs’ works in suit was the subject of infringement notices to Cox in

  the Claim Period. Each was contained within the files identified by hash value in MarkMonitor’s

  infringement notices. The infringement notices informed Cox that the subscribers identified in

  those notices downloaded or distributed the infringing digital files identified in the notices. In fact,

  each of Plaintiffs’ works in suit was the subject of infringement notices from MarkMonitor to Cox

  during the Claim Period regarding subscribers’ third or later infringement notice. 4 See Gould Ex.

  7 (McCabe I) ¶ 7; see also Gould Ex. 25 (Tregillis Rept.) at ¶ 26.

          23.     The digital files identified by hash value in MarkMonitor’s notices of infringement

  to Cox have been produced in discovery. Anyone, including Cox, can listen to the audio recordings

  within those files. See Gould Exs. 10 (Bahun I) ¶ 24; 56 (RIAA notice spreadsheet); 67 (audio

  files). Cox has not pointed to a single misidentification of the audio recordings.

          24.     When Cox sent MarkMonitor’s infringement notices to Cox’s subscribers, Cox told

  its subscribers to contact RIAA if they disputed the allegation of infringement and an email address

  for doing so was included in the notice. None of the Cox subscribers who were the subject of

  MarkMonitor’s notices to Cox during the Claim Period contacted RIAA or MarkMonitor, or

  provided a counter-notification to Cox pursuant to 17 U.S.C. § 512, to dispute the allegations of

  infringement. Gould ¶¶ 5-6; Gould Exs. 10 (Bahun I) ¶ 21; 26.




  4
    As of his June 24, 2019 deposition, Cox’s expert, Christian Tregillis, had matched over 95% of Plaintiffs’
  works in suit to the infringing files referenced in the infringement notices and over 90% under the more
  stringent “third or later” paradigm. Gould Ex. 21 (Tregillis Tr.) at 18:12–19:7 and 116:4-119.


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         25.      Cox was aware

                                                                 See Gould Exs. 27-30.

         26.      Of the 57,679 Cox subscribers who were the subject of MarkMonitor’s notices

  during the Claim Period, Cox’s records reflect that from             :

               a)        subscribers appeared in 3 or more notices;
               b)        subscribers appeared in 6 or more notices;
               c)       subscribers appeared in 10 or more notices;
               d)       subscribers appeared in 13 or more notices;
               e)       subscribers appeared in 14 or more notices; and
               f) Cox terminated         of those subscribers’ accounts.

  See Gould Ex. 7 (McCabe Decl.) ¶ 9; see also Gould Ex. 57 (Cox Ticket Data).

         27.      During the Claim Period, Cox also received




  See Gould Ex. 7 (McCabe Decl.) ¶ 8; see also Gould Ex. 57. Documents attached to the Gould

  declaration illustrate examples of

                                                                 Gould Exs. 56, 57, 58.

         28.       In discovery, Cox identified to Plaintiffs the Cox subscribers who were the subject

  of MarkMonitor’s infringement notices, by each subscriber’s unique ICOMS billing number. Cox

  also provided names of most of the Cox business subscribers at issue. While some of those Cox

  business subscribers were



                 See Gould Ex. 58.




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          C. Cox’s Contributory and Vicarious Liability for the Infringement 5

          29.      Cox’s subscribers required Internet access to upload and download digital files on

  the BitTorrent, Gnutella, eDonkey and Ares P2P networks. See also Gould Exs. 10 (Bahun I) ¶ 8;

  11 (Frederiksen-Cross I) ¶¶ 6-15, 18-19.

          30.      Cox’s Acceptable Use Policy (“AUP”), which was a condition of use for a Cox

  subscriber to use Cox’s Internet service, prohibited subscribers from using Cox’s service to

  infringe copyrights. Cox had the right to terminate its subscribers’ access to its Internet service

  for violating the AUP.        Under the terms of the AUP, a subscriber—including a business

  subscriber—was responsible for all use, including any unlawful use, of Cox’s Internet service that

  occurs through the subscriber’s account. See BMG v. Cox, 149 F. Supp. 3d at 640; Gould Exs. 31-

  33.

          31.      As



                                                                                             See BMG v. Cox,

  149 F. Supp. 3d at 640-41; BMG Rights Mgmt. (US) LLC v. Cox Commc'ns, Inc., 881 F.3d 293

  (4th Cir. 2018); Gould Exs. 34; 36 at No. 5; 38 at 5; 39 at 11; 40 at 13; 41 at 11-12, 30-31, 33-34;

  42 at ¶ 12; 22 (Beck Tr). 68:9–73:13.




  5
    Some of these Statements of Undisputed Fact cite to this Court’s summary judgment decision in favor of
  BMG against Cox on Cox’s DMCA safe harbor defense and/or the Fourth Circuit’s affirmance of the
  decision. BMG v. Cox, 149 F. Supp. 3d 634 (E.D. Va. 2015), aff’d in part, rev’d in part, 881 F.3d 293 (4th
  Cir. 2018). Cox is bound by those determinations. “Collateral estoppel forecloses the relitigation of issues
  of fact or law that are identical to issues which have been actually determined and necessarily decided in
  prior litigation in which the party against whom issue preclusion is asserted had a full and fair opportunity
  to litigate.” Sedlack v. Braswell Servs. Group, 134 F.3d 219, 224 (4th Cir. 1998) (internal quotations and
  citations omitted); see also In re Microsoft Corp. Antitrust Litig., 355 F.3d 322, 326 (4th Cir. 2004) (setting
  forth elements).


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         32.     Prior to the fall of 2012, Cox did not follow its policy for terminating accounts of

  repeat infringer subscribers. Instead, Cox employees followed an unwritten policy put in place by

  senior members of Cox’s abuse group whereby accounts used repeatedly to infringe copyrights

  would be nominally terminated, only to be reactivated upon request, with the subscriber starting

  the graduated response process all over again with a clean slate. See BMG v. Cox, 149 F. Supp.

  3d at 655-58; Gould Ex. 46 (Zabek Tr.) at 137:10–140:20.

         33.     After the fall of 2012, Cox essentially stopped terminating repeat infringer

  subscribers altogether despite receiving an increasing number of infringement notices every year

  and continuing to receive infringement notices informing it of specific repeat infringing

  subscribers. See BMG v. Cox, 149 F. Supp. 3d at 658-62; Gould Ex. 35 (Cox’s interrogatory

  responses) at Interr. No. 8; 46 (Zabek Tr.) at 101:14–102:15.

         34.     Throughout 2013 and 2014, Cox’s graduated response program employed a 13-

  strike policy before a subscriber would even be considered for termination. “Strikes” under this

  policy were based upon abuse “tickets” generated by CATS without regard to whatever

  copyrighted work(s) was cited in an underlying notice. Critically, Cox imposed a variety of rules

  that limited whether any given infringement notice would even result in a ticket. As a result, the

  number of infringement notices Cox received was substantially higher than the number of tickets

  that resulted from such notices. Upon receipt of a fourteenth strike in an abuse cycle, Cox would

  finally consider terminating the offending user. Termination was never automatic, however, and

  was left to the discretion of Cox employees. BMG v. Cox, 149 F. Supp. 3d at 640-41; see also

  Gould Exs. 41; 47 (Zabek Decl.) at ¶¶ 8-11.

         35.     Cox made every effort to avoid terminating subscribers, even those that were the

  subject of 14 or more infringement notice tickets. Despite having a repeat infringer policy in



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  concept, Cox’s implementation of the policy, or lack thereof, rendered the policy an “absolute

  mirage.” Cox very clearly determined not to terminate subscribers who in fact repeatedly violated

  Cox’s policy. See BMG v. Cox, 149 F. Supp. 3d at 658-62; Gould Exs. 35 at No. 8; 37.

         36.     In 2013 and 2014, Cox terminated approximately

  for non-payment of subscription fees. See Gould Exs. 48; 49. In that period, Cox claims to have

  terminated only       subscribers for copyright infringement. See Gould Ex. 35 at No. 8.

         37.     During the Claim Period, which is slightly narrower than the full 2013 and 2014

  calendar years,

                                                                           See Gould Exs. 35 at No.

  8; 36 at No. 5, 25.

         38.     Despite receiving MarkMonitor’s infringement notices reporting specific Cox

  subscribers who were engaging in repeated infringement, Cox continued to provide those

  subscribers with Internet service—the tool used to infringe—in virtually every instance. See

  Gould Ex. 7 (McCabe) ¶ 9; see also Gould Ex. 57.

         39.     During the Claim Period, Cox refused to accept infringement notices from

  Rightscorp on behalf of BMG Rights Management (US) LLC, a music publisher.                   Cox

  “blacklisted” Rightscorp resulting in Cox automatically deleting or blocking millions of

  infringement notices from Rightscorp. See BMG v. Cox, 149 F. Supp. 3d at 642; Gould Exs. 51

  (BMG Cadenhead Tr.) at 82:15–87:2; 50; 35, 36 at No. 5.



  See Gould Exs. 59-62.

         40.     Cox is an ISP that, in exchange for a monthly subscription fee, provides Internet

  access service to subscribers. At all relevant times, Cox had a tiered pricing structure through



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  which it both charged higher monthly fees for increased data allowances and




                      See Gould Exs. 41 at 6; 69.

         41.




                                                                     See Gould Exs. 15 (Lehr Decl.)

  ¶¶ 10, 18; see also Gould Exs. 57; 63-66.

         42.        By not terminating specific repeat infringer subscribers, Cox also avoided direct

  incremental costs it would have otherwise incurred. See Gould Ex. 15 (Lehr Decl.) ¶¶ 10, 15.

         43.        The flat monthly fees Cox charges to its users vary based on what its subscribers

  use its service for. The increased data consumption from infringing P2P activity on the Internet

  inured to Cox’s financial benefit, as subscribers consuming more data paid higher monthly fees.

               a)
                                                                                                 See
                    Gould Ex. 55 (Summers Tr.) at 34:19–35:2.

               b)


                                                                 See Gould Ex. 1 (Cox data usage
                    assessment) at 4.

               c) P2P activity frequently involved copyright infringement. See Gould Exs. 28 (Cox
                  internal email); 2 (Fuenzalida Tr.) at 172–73, 127–30; 3 (Basquin Tr.) at 126–27;
                  15 (Lehr Decl.) ¶ 22.



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               d)

                    See Gould Ex. 2 (Fuenzalida Tr.) at 165–169.

               e)



                    See Gould Ex. 15 (Lehr Decl.) ¶¶ 23-24.

         44.



                                                                         See BMG v. Cox, 881 F.3d at

  304-05; see also Gould Exs. 63-66; 52-54; 5, 9, 13, 43, 44; 46 (Zabek Tr.) at 144:5–145:23.

         45.        Cox’s internal documents regarding infringement notices require only that a notice




                                Gould Ex. 45.

                                                ARGUMENT

         I.         Plaintiffs Have Ample Evidence of Direct Infringement and Cox is Not
                    Entitled to Summary Judgment on the Issue

         Cox makes two flawed arguments in support of its request for a summary judgment finding

  of no direct infringement. First, it argues that Plaintiffs cannot show direct infringement by Cox’s

  subscribers, but merely that subscribers made infringing files available for distribution. (Mot. at

  19-22.). Second, Cox relies on a meritless spoliation motion, hoping to exclude key evidence.

  (Mot. at 15-19.) Both arguments fail. A finding of direct infringement is the only reasonable

  inference from the evidence. SOAF ¶¶ 8-10, 12-24.




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         A. Cox’s Subscribers Engaged in Infringing Reproductions and Distributions

         In arguing no direct infringement, Cox speculates, overlooks the record, and—once

  again—“ignores the fact that [Plaintiffs] may establish direct infringement using circumstantial

  evidence that gives rise to an inference that Cox account holders or other authorized users accessed

  its service to directly infringe.” BMG v. Cox, 149 F. Supp. 3d at 663; see also Capitol Records,

  Inc. v. Thomas, 579 F. Supp. 2d 1210, 1225 (D. Minn. 2008) (“[D]irect proof of actual

  dissemination is not required by the Copyright Act. Plaintiffs are free to employ circumstantial

  evidence to attempt to prove actual dissemination.”).

         From January 2012 through November 26, 2014, MarkMonitor detected hundreds of

  thousands of instances of infringement by Cox’s subscribers and sent Cox 260,873 infringement

  notices. In the Claim Period alone, MarkMonitor sent Cox 163,148 infringement notices. These

  notices were made under penalty of perjury by RIAA and included the elements of information

  required under the Digital Millennium Copyright Act, 17 U.S.C. § 512(c)(3)(A). SOAF ¶ 20.

         Every single MarkMonitor notice is supported by




                                                                   SOAF ¶¶ 8-9, 12-13, 16, 20.




  6
    For over a decade, courts have recognized the use of the Audible Magic software as a proper method to
  identify the content of an audio file as a specific copyrighted work. See, e.g., UMG Recordings, Inc. v.
  Shelter Capital Partners LLC, 718 F.3d 1006, 1012 (9th Cir. 2013) (“Audible Magic’s technology takes


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                                                                          SOAF ¶¶ 8-9, 12-13.

           The digital files that were the basis of MarkMonitor’s notices of infringement to Cox have

  been produced in discovery. Cox could have listened to those audio recordings if it chose to do

  so. Cox has not identified a single inaccurate identification of those audio files. When Cox

  forwarded MarkMonitor’s notices to Cox’s subscribers, Cox told its subscribers



               None of the Cox subscribers who were the subject of MarkMonitor’s notices to Cox

  sent an email to RIAA or MarkMonitor, or provided a counter-notification to Cox pursuant to 17

  U.S.C. § 512(g)(3), to dispute the allegations of infringement during the Claim Period. SOAF ¶¶

  20-24.

           A finding of direct infringement is the only reasonable inference from these facts. 7




  audio ‘fingerprints’ from video files and compares them to a database of copyrighted content provided by
  copyright holders.”); Capitol Records, LLC v. Escape Media Grp., Inc., No. 12-cv-6646 (AJN), 2015 WL
  1402049, at *23 (S.D.N.Y. Mar. 25, 2015); Arista Records LLC v. Myxer Inc., No. 08 Civ 03935 (GAF)
  (JCX), 2011 WL 11660773, at *5 (C.D. Cal. Apr. 1, 2011); Arista Records LLC v. LimeWire LLC, No. 06
  Civ. 05936 (KMW), 2010 WL 10031251, at *6 (S.D.N.Y. Aug. 9, 2010); Metro–Goldwyn–Mayer Studios,
  Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1205–06 (C.D. Cal. 2007).

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                 1. Cox Ignores Evidence of Cox’s Subscribers Directly Infringing Plaintiffs’
                    Reproduction Right

         Cox contends that Plaintiffs “have no evidence” of a subscriber making an unauthorized

  copy of Plaintiffs’ copyrighted works. (Mot. at 20.) Cox is patently wrong. SOAF ¶¶ 13-20.

         Each Cox subscriber who was the subject of a notice in the Claim Period was caught on a

  file sharing network notorious for infringement with a file confirmed to be infringing. Cox has no

  evidence to support its speculation that files identified by hash value in MarkMonitor’s

  infringement notices “were initially purchased from iTunes, legally uploaded from a purchased

  CD, or obtained from another legal source.” (Mot. at 20.) It is unfounded and the record is directly

  contrary. MarkMonitor caught Cox’s subscribers on P2P networks




                                                                              SOAF ¶¶ 13-20.

                 2. Cox Ignores Evidence of Cox’s Subscribers Directly Infringing Plaintiffs’
                    Distribution Right

         Cox next claims that Plaintiffs have no evidence of actual distribution, but rather only

  evidence of Cox’s subscribers “making available” infringing works, which is insufficient to

  establish unauthorized distribution. (Mot. at 20.) This argument misreads the law and ignores the

  nature of P2P protocols and the overwhelming (and uncontroverted) circumstantial evidence of

  distribution. Cox’s expert confirmed that “[a] client cannot retrieve pieces without providing

  pieces to others – this is the so-called ‘tit for tat’ incentive model of BitTorrent.” SOAF ¶ 17. He

  further acknowledged that “[i]n the BitTorrent protocol, any participating peer will generally be

  downloading or retrieving pieces of the file as well as providing – if you want to use the term

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  uploading, that’s fine.” Id. Thus, when MarkMonitor detected the Cox subscribers online, running

  the P2P software, and “sharing” an unauthorized copy of Plaintiffs’ works, there can be no

  reasonable question that the subscriber distributed the file. Cox’s argument only succeeds if one

  fully disregards the fundamental and undisputed nature of P2P networks. SOAF ¶¶ 13-20, 24. 8

          Cox also ignores that P2P networks are designed to make it impossible for anyone to collect

  records depicting how many times a peer distributes an infringing file. Interactions between two

  peers on a P2P network are unobservable to, and intentionally hidden from, anyone other than

  those two peers. SOAF ¶ 18. Neither Cox nor anyone else maintains logs of the infringing files

  that Cox’s subscribers distribute, nor does Fourth Circuit law require such information.

          The Fourth Circuit decision in Hotaling v. Church of Jesus Christ of Latter-Day Saints,

  118 F. 3d 199 (4th Cir. 1997), stands for precisely this proposition. In Hotaling, a library added

  copyrighted materials to its collection, listed the works in its catalog system, and made

  them available to the public. Id. at 201-02. The Fourth Circuit held that the library infringed

  Hotaling’s distribution rights because a distribution occurs where the defendant “makes the work

  available” and “has completed all the steps necessary for distribution to the public[,]” without the



  8
    Cox’s contention that there is no proof of reproduction or distribution by any Cox subscriber completely
  ignores the context of the evidence presented. Plaintiffs’ expert provided the following analogy: Suppose
  you are a teacher and have received term papers from your class. To your disappointment, you find that
  each student has not submitted a unique paper; in fact, almost all of your students submitted a paper that
  exactly matched that of one or more other students. Worse, you have found 100% of the papers on the
  internet. In addition, some of the papers are sets of essays identically titled and organized. Of course, it is
  theoretically possible that the students independently wrote identical papers, but common sense tells you
  that is incredibly unlikely. Likewise, in the context of P2P file-sharing networks, which are used solely for
  the purpose of downloading and sharing files, when identical files or sets of files are found shared from
  multiple users, there exists a theoretical possibility that the users observed with identical music files (or
  identically configured sets of music files in the case of BitTorrent) introduced them to these networks
  through off-network sources but did not distribute them to anyone, but the probability of that is extremely
  unlikely and unsupported by the evidence. SOAF ¶ 19.




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  need to show more—otherwise “a copyright holder would be prejudiced by a [defendant] that does

  not keep records of public use, and the [defendant] would unjustly profit.” Id. at 203; accord A&M

  Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1014 (9th Cir. 2001) (“Napster users who upload

  file names to the search index for others to copy violate plaintiffs’ distribution rights.”). Hotaling’s

  logic applies equally to infringement in the digital environment and thus applies here.

         Indeed, this case is exactly the type where Hotaling is intended to apply; i.e., “cases where

  it is impossible for a copyright owner to produce proof of actual distribution.” BMG v. Cox, 149

  F. Supp. 3d at 666-70 (concluding direct infringement of the distribution right requires showing

  an “actual dissemination” and that circumstantial evidence can suffice). The facts here fall

  squarely within this Court’s reading of Hotaling, as direct proof of actual dissemination is

  unobtainable.    Because of the decentralized nature of a P2P network, it is impossible for

  MarkMonitor, or any other peer on the network, to track a peer’s activity with other peers. This is

  true because any particular peer can only see the activity that peer is engaged in, not the activity

  that is occurring between other peers. SOAF ¶ 18.

         B. Cox’s Arguments Based on its Motion to Preclude Certain MarkMonitor
            Evidence Have No Merit and There is Ample Evidence of Direct Infringement in
            Any Event.

         In a separate motion, Cox requests discovery sanctions and to preclude Plaintiffs’ use of a

  “MarkMonitor Spreadsheet” that shows that the files that were the subject of infringement notices

  to Cox contained Plaintiffs’ works in suit. Relying entirely on that flawed motion and the hoped-

  for preclusion requested there, Cox contends that Plaintiffs cannot prove the files its subscribers

  distributed were copies of Plaintiffs’ works. (Mot. at 15.) For the reasons explained in more detail

  in Plaintiffs’ opposition to that motion and supporting declarations, see ECF No. 352, Cox’s

  motion should be denied. The Fourth Circuit only permits a finding of spoliation where the movant

  can establish: (1) a duty to preserve, (2) destruction of material evidence, and (3) culpable conduct.
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  Cox has not shown those elements exist here at all and certainly not by clear and convincing

  evidence, as required. Nor has Cox demonstrated the serious prejudice required to warrant the

  harsh sanction of evidentiary preclusion. Regardless, there is ample additional evidence of direct

  infringement.

          First, Cox has not shown that Plaintiffs or MarkMonitor had any duty to preserve. RIAA

  hired MarkMonitor to conduct a                                                             and the entire

  purpose of the notice program was to move away from litigation against P2P end users and work

  with ISPs to address the problem of P2P infringement by their subscribers. It was only Cox’s

  disregard for the notices that necessitated litigation after-the-fact, not before. SOAF ¶ 7. Cox

  ignores these realities and attempts to convert a record-keeping term in a notice-program contract

  between MarkMonitor and RIAA into a common law preservation obligation that simply does not

  exist. The theoretical possibility of litigation (which is always the case) does not create a

  preservation duty because is not the same as reasonably anticipating litigation. 9

          Second, Cox has not shown a failure to preserve any evidence, let alone material evidence

  favorable to Cox’s case, as required. Cox misdescribes the “MarkMonitor Spreadsheet” that it

  seeks to preclude as a

                                                             Cox also fails to recognize that, even where

  a duty to preserve exists, there is no requirement to retain every piece of data. When Audible

  Magic




  9
    See, e.g., Samsung Elecs. Co. v. Rambus, Inc., 439 F. Supp. 2d 524, 547 (E.D. Va. 2006) (duty to preserve
  is not triggered where litigation is a “vague or far-off possibility”) (vacated on other grounds); B&D
  Boatworks, Inc. v. Doors, Inc., No. 2:05-CV-38 F(3), 2007 WL 9718184, at *5 (E.D.N.C. Sept. 7, 2007)
  (duty to preserve evidence exists when litigation is “reasonably foreseeable[,]” but not when litigation is
  “merely possible”).


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                                             That is precisely what the governing contract required; no

  more. Kearney Ex. 23 (SOW). The other Audible Magic fields that Cox contends MarkMonitor

  should have retained in earlier periods are superfluous. SOAF ¶¶ 8-10.

          Third, Cox has not shown that MarkMonitor or Plaintiffs acted negligently, recklessly, or

  willfully by spoliating evidence that would have been favorable to Cox’s cause. MarkMonitor was



                 At the time of the alleged spoliation, neither MarkMonitor nor Plaintiffs had reason

  to know the additional Audible Magic data that Cox claims was spoliated would be relevant (and

  they are not) to some unknown future litigation. SOAF ¶¶ 7-10, 14.

          Finally, Cox’s requested remedy—exclusion of the MarkMonitor Spreadsheet—is grossly

  disproportionate to the alleged harm and wholly unwarranted. Plaintiffs do not stand to benefit

  from the alleged spoliation. Nor is Cox prejudiced. Indeed, Cox has never even pursued the

  obvious manner of disproving the infringement by reviewing the infringing audio files produced. 10

  By contrast, the MarkMonitor Spreadsheet




  10
    Spinning a yarn, Cox argues that the full complement of Audible Magic data would show that Plaintiffs
  did not actually verify through Audible Magic the contents of the infringing files. Cox argues that


  Cox fails to inform the Court that such “testing records” were never authenticated during any questions or
  answers in Audible Magic’s deposition and are, at best,
                                                           and thus of course would not include the Audible
  Magic verifications that took place over the course of the preceding years (and which are in the
  MarkMonitor Spreadsheet). Cox layers misunderstanding upon misunderstanding concerning the data, the
  processes, and their significance. The foundation for this argument (REV0003444) is also inadmissible
  and the subject of Plaintiffs’ contemporaneously filed motion to strike.


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          Nevertheless, and notwithstanding the importance of the MarkMonitor Spreadsheet, there

  is ample additional evidence demonstrating that the files that were the subject of infringement

  notices to Cox contained Plaintiffs’ works in suit. In particular, each infringement notice sent to

  Cox included the hash value pertaining to the infringing file. Plaintiffs also produced a hard drive

  of audio files that were the subject of Audible Magic identifications. These audio files match to

  the infringement notices by hash value. With the notices and hard drive, one can identify the

  infringing files and listen to the corresponding audio file on the hard drive. SOAF ¶¶ 20, 23.

          II.     Plaintiffs Have Ample Evidence that Cox is Liable for Contributory
                  Infringement

          A. By Continuing to Provide Known Repeat Infringers With the Tool to Infringe,
             Cox is Liable for their Subsequent Infringement and its Liability is Not Limited
             to Works Expressly Listed in Prior Infringement Notices.

          Evidence of a defendant’s knowledge of, and material contribution to, the infringing

  activity proves contributory infringement. Cox concedes its material contribution to the infringing

  activity but argues that it lacked sufficient knowledge for the works in suit that were not listed by

  name. (Mot. at 22-28.). Cox contorts the Fourth Circuit’s contributory liability knowledge

  standard beyond recognition to argue: (1) it can have actual knowledge of a specific subscriber

  engaged in repeated infringement, (2) continue to provide the subscriber with the tool to infringe,

  and (3) avoid liability for that subscriber’s subsequent infringement unless the person stole the

  very same music over and over again. To state the position is to refute it. Cox’s knowledge of a

  known repeat infringer is not cabined to particular works or notice senders. 11


  11
     Cox concedes that MarkMonitor’s notices provided it with knowledge of specific Cox subscribers
  infringing 1,998 unique sound recordings identified by name in MarkMonitor’s infringement notices. Cox
  contends that it cannot be held contributorily liable for the remaining 5,059 sound recordings in suit or the
  3,421 copyrighted musical compositions in suit because these latter sets were not identified by name in
  MarkMonitor’s notices. (Mot. at 25-26.). The basis for this argument and these figures is inadmissible
  testimony from, and an inadmissible Rule 1006 summary sponsored by, Cox’s outside counsel, Thomas


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                  1. Cox Misstates the Fourth Circuit Standard for Knowledge

          Cox tries to rewrite the Fourth Circuit’s BMG decision to suit its summary judgment

  motion. Cox misleadingly argues that, in BMG, the Fourth Circuit held that contributory liability

  requires “actual knowledge of, or willful blindness to, specific infringements of identified

  copyrighted works.” (Mot. at 25.) The Fourth Circuit said no such thing.

          The Fourth Circuit held that the knowledge standard for contributory infringement

  “requires a defendant to have specific enough knowledge of infringement that the defendant could

  do something about it.” BMG, 881 F.3d at 311-12 (emphasis in original). It explained that a

  defendant’s “generalized knowledge” that “some number of its subscribers were infringing” is not

  enough. Rather, the Fourth Circuit made clear that Cox needs to know “which [subscribers] were

  infringing” so that it has “knowledge that infringement is substantially certain to result from Cox’s

  continued provision of Internet access to particular subscribers.” Id. On this basis, the Fourth

  Circuit directed that, on remand, “the contributory infringement instruction should require that

  Cox knew of specific instances of infringement or was willfully blind to such instances.” Id.

                  2. Cox Had Specific Knowledge, Not Mere Generalized Knowledge

          There is no support in the Fourth Circuit’s decision (or anywhere else) for Cox’s

  unprecedented argument that it can only be held responsible for subsequent infringement of

  specific works identified by title and copyright owner in an infringement notice. MarkMonitor’s

  infringement notices identified to Cox its particular subscribers (by IP address and timestamp)

  using Cox’s Internet service to infringe. MarkMonitor’s infringement notices further informed

  Cox of the specific infringing files that those particular subscribers downloaded or distributed. The



  Kearney. Plaintiffs have separately filed a motion to strike this improper attorney testimony and Rule 1006
  summary.


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  infringing files identified in the infringement notices often included multiple copyrighted works,

  and the notices made clear that the work listed in the notice was a “sampling of the music shared.”

  SOAF ¶ 20. This is more than enough for Cox to do something about the infringement. Contrary

  to Cox’s assertions, Plaintiffs’ notices provided far more than mere generalized knowledge that

  some unknown subscribers were somewhere engaged in some unknown infringement.

         The interplay between knowledge for contributory liability and receipt of DMCA

  infringement notices also provides support. This Court has made clear that DMCA-compliant

  notices are evidence of actual knowledge. BMG, 149 F. Supp. 3d at 671 (citing cases). The DMCA

  expressly provides that a legally compliant notice need not list each and every work being

  infringed, but merely “a representative list” of works infringed. 17 U.S.C. § 512 (c)(3)(A)(ii).

         Cox tries to distract from the issue by taking the Court on a journey through the steps

  supposedly required for it to understand the scope of works that might be implicated by an

  infringement notice. Cox argues it is not required to investigate beyond the face of the notice to

  understand what infringement is occurring. (Mot. at 23-25.) This argument is a red herring,

  divorced from the record and the law.        Cox received MarkMonitor’s infringement notices,

  associated them with the subscribers who were the subject of the notices, and claims to have taken

  steps that were effective in stopping additional infringements. Cox’s policies, procedures, and

  practices

                                                        SOAF ¶¶ 21, 30, 32-35, 45. Indeed, its own

  internal documentation requires only



                                                                                     SOAF ¶ 45.




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            Cox’s contention that, somehow, it would have acted differently if MarkMonitor had listed

  all the copyrights in the infringing files by title, or if the Music Publisher Plaintiffs had sent

  separate notices, is disingenuous to say the least. All of Cox’s supposedly “effective,” but utterly

  toothless, graduated response procedures focus

                                                           To Cox, that information was irrelevant. 12

            Cox’s reliance upon the Ninth Circuit’s decision in Luvdarts is misplaced. (Mot. at 28.)

  In Luvdarts, “the notices were 150–page–long lists of titles, apparently just a transcription of every

  title copyrighted by Luvdarts, which indicated that they wanted ‘accountability’ for the

  unauthorized distribution of those titles for the period from May 2008 to November

  2009.” Luvdarts, LLC v. AT & T Mobility, LLC, 710 F.3d 1068, 1073 (9th Cir. 2013). The Ninth

  Circuit deemed those notices as indistinguishable from a mere generalized notice of infringement

  because they did not identify “which of these titles were infringed, who infringed them, or when

  the infringement occurred.” Id. Luvdarts is obviously nothing like this case. MarkMonitor’s

  notices identified, among other things, the particular infringing subscriber, the infringing file, a

  representative sample of the copyrighted work infringed, and the date/time of the infringement.

  Plaintiffs’ proof more than satisfies the Fourth Circuit’s standard from BMG.

                    3. Cox Conflates the “Control” Element Necessary for Vicarious Liability in
                       its Contributory Infringement Analysis

            There are distinctly different elements for Plaintiffs’ contributory infringement and

  vicarious liability claims. Knowledge is not an element of vicarious liability. Similarly, right and

  ability to control is not required to prove contributory infringement. Cox nonetheless attempts to



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       Cox’s summary judgment argument flies in the face of how it behaved,




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  merge the various elements of the different claims. 13 The Court should be wary of that trap.

  Control for purposes of vicarious liability is irrelevant to the contributory infringement analysis.

  As described above, and in Plaintiffs’ affirmative motion for summary judgment, MarkMonitor’s

  infringement notices imbued Cox with knowledge. As explained below, see infra at 36, Cox also

  had sufficient control for purposes of the distinct doctrine of vicarious liability.

          B. Cox Willfully Blinded Itself to the Infringement of the Works in Suit

          “A person is ‘willfully blind’ or engages in ‘conscious avoidance’ amounting to knowledge

  where the person was aware of a high probability of the fact in dispute and consciously avoided

  confirming that fact.” BMG v. Cox, 149 F. Supp. 3d at 673 (internal quotations and citations

  omitted). Willful blindness requires that “Cox consciously avoided learning about specific

  instances of infringement.” BMG v. Cox, 881 F.3d at 312. Cox’s misconduct meets that standard.

          Cox cannot credibly claim it did not believe infringement was occurring. (Mot. at 28-29.)

  Cox had actual knowledge of repeat infringers and, behind the scenes, Cox made clear that

                                     SOAF ¶ 20-22, 24-27. Cox also took deliberate actions to avoid

  learning about the infringement. It imposed caps on all rights owners, including Plaintiffs, and

  refused to process any infringement notices over that amount per day. Moreover, Cox blacklisted

  Rightscorp, which sent millions of infringement notices that Cox refused to accept—each

  identifying a specific instance of Cox subscribers infringing music. SOAF ¶¶ 31, 34, 39. The



  13
     In attacking the element of knowledge for contributory infringement, Cox relies upon VHT, Inc. v. Zillow
  Group, 918 F.3d 723 (9th Cir. 2019) for the proposition that there is no practical ability to control the
  infringement where “ferreting out claimed infringement … was beyond hunting for a needle in a haystack.”
  (Mot. at 24-25.) Cox then argues that “it was not on notice that unnamed, unidentified sound recordings
  were being infringed” and thus lacked “the practical ability to supervise infringing acts of which it was
  unaware.” But this case is nothing like VHT and Cox improperly conflates the contributory and vicarious
  liability elements in arguing under VHT. Here, Cox had knowledge of specific infringing acts for purposes
  of contributory liability, and had the right and ability to supervise or limit the infringement for purposes of
  vicarious liability.


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  foregoing is more than enough for a reasonable jury to find (again, as the BMG jury did) willful

  blindness.

         C. Cox’s Contributory Liability Does Not Hinge on Precisely Identifying the Direct
            Infringers Using its Business Subscribers’ Accounts

         This Court already recognized that, “[w]hile identity is a key issue in many individual

  infringement suits, it has little relevance in a large-scale secondary liability suit.” BMG, 149 F.

  Supp. 3d at 664. Cox nonetheless contends that it cannot be held contributorily liable for direct

  infringement through its business customers’ accounts absent identification of the specific

  individual that infringed. Cox’s argument is meritless and it is collaterally estopped from re-

  litigating the issue. Beyond that, the case Cox relies on does not help its cause. 14

         Cox deceptively discusses Cobbler Nevada, LLC v. Gonzalez, 901 F.3d 1142 (9th Cir.

  2018). (Mot. at 29-32.) In Cobbler, the court held that a claim of direct infringement brought

  against an adult foster care home required something more than the mere allegation that the direct

  infringement occurred through an IP address assigned to the defendant. 901 F.3d at 1146–47.

  Cobbler did not hold, as Cox states, that “[p]roving the predicate act of direct infringement

  necessarily requires proof that a particular person did the infringing.” Rather, the issue in Cobbler

  was whether there was a basis to allege that the defendant was the direct infringer.

         Cox also blithely attempts to stand in the shoes of the Cobbler defendant in analyzing its

  potential contributory liability. Cox’s confused argument is that if the Cox business subscribers

  cannot be held contributorily liable for direct infringement occurring on the networks they




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  administer, Cox cannot be held liable for that behavior merely because it connects the networks of

  those Cox business subscribers to the Internet. Cox is wrong.

          First, the Cobbler court recognized that, while contributory infringement can be proven by

  knowledge of the infringing activity combined with material contribution, it premised its

  contributory infringement claim against the foster care home “on a bare allegation that Gonzales

  failed to police his Internet service.      This perfunctory allegation, without more, does not

  sufficiently link Gonzales to the alleged infringement.” Id. at 1147-48. Plaintiffs’ claims against

  Cox are based on much more than a “perfunctory allegation.” Moreover, unlike the defendant in

  Cobbler, who was apparently unaware of who to cut off to stop the infringement, Cox knew exactly

  which repeat infringer subscribers to terminate. Cox had to “do something” but chose not to.

          Second, Cox and the defendant in Cobbler are differently situated. Cox is an ISP, whereas

  the defendant in Cobbler was “a subscriber to internet service.” That difference weighs heavily.

  Cobbler explained that a subscriber to an Internet service “does not fit cleanly within our typical

  contributory liability framework, which often involves consumer-facing internet platforms.” Id.

  at 1148. In Cobbler, the court’s concern was not to create “an affirmative duty for private internet

  subscribers to actively monitor their internet service for infringement [because] [i]mposing such a

  duty would put at risk any purchaser of internet service who shares access with a family member

  or roommate, or who is not technologically savvy enough to secure the connection to block access

  by a frugal neighbor.” Id. at 1149. For Cox, none of those concerns apply. 15 Cox is a

  sophisticated, technologically savvy company in the business of providing access to its network to




  15
     Based solely on its say-so, Cox makes broad statements such as its business subscribers “include large
  and small organizations whose networks may be used by dozens, hundreds, or thousands of end users.”
  Cox has not offered any evidence, let alone admissible evidence, about the size of the organizations, the
  size of the location for which Cox provided Internet service, or the number of end users.
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  customers and it purported to have policies and procedures to receive infringement notices, work

  with subscribers to stop the infringement, and terminate accounts of repeat infringers.

          Finally, Cox again misapplies the Fourth Circuit’s BMG decision, contending that direct

  infringement occurring on the networks administered by Cox’s business customers amounts to

  nothing more than “generalized knowledge … that infringement was occurring somewhere on its

  network.” Cox’s argument is a non sequitur. Cox had specific knowledge of specific direct

  infringement. Plaintiffs’ notices identified the account being used for infringement, the infringing

  file, a representative copyrighted work in the file, the day/time of the detection, and the port

  number. That is not generalized knowledge of infringement occurring in some unknown location.

          III.    There is Ample Evidence of Cox’s Vicarious Liability

          Cox’s conduct also renders it liable for vicarious copyright infringement because it

  “profit[ed] from direct infringement while declining to exercise the right to stop or limit it.”

  Grokster, 545 U.S. at 930. Cox argues that it lacked a direct financial interest in the alleged

  infringement. (Mot. at 32-34.) Cox also contends that it lacked the ability to supervise or control

  the infringing activity by Cox’s business subscribers. 16 (Mot. at 36.) Both arguments fall flat.

                  A. Cox Derived a Direct Financial Benefit from Infringement

          Vicarious liability requires a “causal relationship between the infringing activity and any

  financial benefit a defendant reaps, regardless of how substantial the benefit is in proportion to a

  defendant’s overall profits.” Ellison v. Robertson, 357 F.3d 1072, 1079 (9th Cir. 2004). In

  multiple ways, Cox obtained such direct financial benefit from its subscribers’ infringement.




  16
    For purposes of its summary judgment motion, Cox does not dispute that it possesses the right and ability
  to control the infringing activity of the Cox residential subscribers who were the subject of MarkMonitor’s
  notices.


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                 1. This is Precisely the Non-Ordinary Case Where Flat Periodic Payments
                    are Enough to Prove Direct Financial Benefit from the Infringing Activity

         Courts (including this one) have cited Ellison for the proposition that “flat periodic

  payments for service . . . ordinarily would not constitute receiving a financial benefit directly

  attributable to the infringing activity,” unless “the value of the service lies in providing access to

  infringing material.” BMG v. Cox, 149 F.3d at 676 (quoting Ellison, 357 F.3d at 1079 (quoting S.

  Rep. 105-90, at 44 (1988)) (emphasis added). Ellison did not establish a fixed rule that charging

  flat fees precludes a finding of direct financial benefit. Cox concedes that the Ellison principle is

  only a “general” rule. (Mot. at 33.) Ellison and the legislative history it quotes expressly use the

  word “ordinarily,” demonstrating that fixed payments can satisfy this element.

         The facts in Ellison do not remotely resemble the facts here. In Ellison, an author sued

  America Online, Inc. (“AOL”) because the author’s works were posted on an online newsgroup

  forum that AOL provided to its subscribers. 357 F.3d at 1075. Under the DMCA, Ellison sent

  AOL an email notifying it of the infringing activity. Id. After that single email went unheeded

  (because AOL had a non-working email address), Ellison filed suit. Id.

         This case is not a dispute about a single unheeded email and is precisely the non-ordinary

  case the Ellison court recognized could exist. Cox had a corporate policy and systematic practice

  to continue delivering Internet service to, and accepting substantial payments from, specific known

  infringing subscribers—many of whom were given multiple opportunities to cease their infringing

  behavior but refused. SOAF ¶¶ 21, 26-27, 31-38. Cox has admitted repeatedly that collecting

  monthly subscription payments from these repeat infringers drove its decisions not to terminate

  their service. SOAF ¶ 44. The bandwidth needed to engage in infringing activities necessitated

  pricier monthly data plans, thereby driving increased revenues for Cox. SOAF ¶¶ 40, 43. The




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  symbiotic relationship between Cox’s financial interests and the infringing activity is undeniable,

  and Cox intentionally exploited it.

                 2. By Not Terminating Known Infringers, Cox Obtained Revenues it would
                    Not Have Otherwise Received, and Avoided Costs

         This Court’s consideration of Ellison in the BMG case did not involve either the facts or

  the arguments set forth here. Cox chose not to stop the infringement on its network precisely in

  order to collect revenues that it would lose if it terminated the particular accounts that were

  repeatedly the subject of infringement notices. This was a direct financial benefit, as was Cox’s

  avoiding costs it would have incurred had it addressed the infringement.

         Cox received a direct financial benefit of at least                    by retaining

  residential subscribers who were the subject of three or more infringement notices from February

  2013 to November 2014. Further, it achieved a direct financial benefit from retaining

  residential subscribers who were the subject of five or more infringement notices during that same

  period of at least               By tolerating the infringement, Cox avoided direct incremental

  costs it would have incurred to address the infringement. SOAF ¶¶ 41-42.

         Reviewing an example is instructive.




                                                                                           See A&M

  Records, Inc. v. Napster, Inc., 114 F. Supp. 2d 896, 921 (N.D.Cal.2000) (direct financial benefit

  requires that “the defendant has economic incentives for tolerating unlawful behavior”), rev'd on

  other grounds, 239 F.3d 1004 (9th Cir. 2001).




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                 3. Cox Admitted that it Prioritized Collecting Subscription Payments Over
                    Limiting the Infringement

         Cox’s own documents demonstrate how Cox’s economic incentives coalesced with the

  known infringing activity of particular subscribers identified in infringement notices. Cox’s profit

  motives are starkly revealed in




  Gould Ex. 53 (Cox internal email). Joseph Sikes, the second in command of the abuse group,

  similarly

                                                                                               Gould

  Ex. 4 (Cox internal email).

         As another example, a top-level abuse engineer, Roger Vredenberg, presented Mr. Zabek

  with

                                                                                           Gould Ex.

  5 (Cox internal email). Mr. Sikes also repeatedly explained that

                                                         Gould Ex. 9 (Cox internal communication),



                                                                         Gould Ex. 54 (Cox internal

  communication).

         Mr. Zabek instructed the Cox abuse team to



                        Gould Ex. 13. He further instructed his team




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  Gould Exs. 43, 44 (Cox internal emails). These examples are not isolated instances. Mr. Zabek

  testified that

                                                 Gould Ex. 46 (Zabek Tr.) 144:5–145:23.

          By contrast, Cox did not hesitate to




                                                                                      SOAF ¶ 36.

                   4. The “Repeat Infringer” Subscribers were Particularly Profitable and
                      Cox’s Revenues Varied Based on the Manner and Purpose for which
                      Subscribers Used its Internet Service

          Cox knew that these infringing subscribers were particularly profitable, and the infringing

  activity led to higher monthly payments. Cox benefitted financially from the infringing activity

  through higher monthly payments from its repeat infringer subscriber base.

          P2P networks often involve infringing activity, which was a key driver of bandwidth

  demand for Cox, pushing households above the most basic tier. Cases depicting the rampant

  infringement via P2P networks are legion. 17 Multiple witnesses in this case acknowledged that

  infringement is frequent on P2P networks. The millions of infringement notices to Cox provide a

  glimpse of the scale. Such use of P2P networks requires substantial bandwidth, which in turn

  prompts customers to purchase higher-priced service plans.         SOAF ¶¶ 40-43.       Cox’s data

  demonstrates that




  17
    See, e.g., Grokster, 545 U.S. at 918–23; Sony BMG Music Entm't v. Tenenbaum, 660 F.3d 487,
  491–92 (1st Cir. 2011); Disney Enterprises, Inc. v. Hotfile Corp., No. 11-20427-CIV, 2013 WL
  6336286, at *35 (S.D. Fla. Sept. 20, 2013).

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           SOAF ¶ 43(e).

                  5. There is Sufficient Evidence for a Jury to Conclude that the Infringing
                     Activity was a Draw

          Finally, though Cox’s direct financial benefit from the infringement obviates any need to

  show that the ability to use Cox’s service to infringe constituted a draw, there is sufficient evidence

  of it. The law is clear that the draw need not be substantial. The sheer volume of notices—over 5

  million accepted in just the Claim Period, despite Cox’s daily limit on notices per rights owner,

  and not including the millions of blocked Rightscorp notices—speaks volumes. SOAF ¶ 37.

  Specific subscribers infringed repeatedly, even after dozens of warnings and multiple suspensions.

  SOAF ¶ 26. This shows that their use of Cox’s service to infringe was much more than a mere

  “added benefit” to them. The infringement was important enough to them that they continued to

  infringe despite the risk (on paper, not in reality) of losing their Internet access as a result.

          B. Plaintiffs Do Not Need to Show that Cox Derived a Financial Benefit from
             Infringement by Cox’s Business Subscribers’ End Users

          By not terminating accounts repeatedly used for infringement, Cox collected additional

  revenues it would not have otherwise received, and avoided incurring costs it would have

  expended, had it terminated service. SOAF ¶ 41. This is no different for a Cox business subscriber,

  and it alone is enough to demonstrate financial benefit for purposes of proving vicarious liability.

  It is not necessary for Plaintiffs to prove that the Cox business subscriber was the direct infringer,

  as Cox argues. (Mot. at 35.) Someone acting through the account of the Cox business subscriber

  was the direct infringer. Rather than stop or limit that infringement, Cox chose to continue to

  provide service and collect more money while the infringement continued. Infringement through

  Cox’s business accounts was particularly egregious and Cox’s revenue, in turn, was highest from

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  those accounts. It does not matter that the business subscriber paid Cox the subscription revenues,

  as opposed to whichever individuals engaged in the infringing acts. Cox had clear economic

  incentive to tolerate the infringement, which it exploited by letting the infringement continue.

         C. Cox Had the Practical Ability to Control Infringements by Business Subscribers

         For purposes of vicarious liability, Cox had sufficient control over its subscribers – both

  residential and, contrary to Cox’s argument, business. (Mot. at 36.) The type of account makes

  no difference. The “control” element is determined by the defendant’s “right and ability to

  supervise the direct infringer.” Grokster, 545 U.S. at 930 n.9. “The ability to block infringers’

  access to a particular environment for any reason whatsoever is evidence of the right and ability

  to supervise.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1023 (9th Cir. 2001). Cox has

  such control, both for residential and business subscribers, and the Court’s prior determination in

  BMG governs here:

         Cox has a contractual relationship with its users and that relationship gives Cox the
         legal right to withhold service in the face of infringing conduct. Cox also provides
         a crucial service to the infringements alleged in this case, which gives Cox the
         practical ability to stop or limit infringement.

  BMG, 149 F. Supp. 3d at 675. Cox is bound by that determination.

         Cox’s rules dictate that the subscriber is responsible for what happens through its account.

  SOAF ¶ 30. Cox has a relationship with its subscriber and can either tolerate the infringement or

  halt it by terminating service. Cox thus had sufficient control for purposes of vicarious liability.

         IV.     Cox’s Arguments on Statutory Damages are Flawed

         Section 504(c)(1) of the Copyright Act indicates that “the copyright owner” may elect

  statutory damages “for all infringements involved in the action, with respect to one work,” and

  that, for purposes of this subsection, “all the parts of a compilation or derivative work constitute

  one work.” 17 U.S.C. § 504(c)(1). On this basis, Cox asks the Court to decide an issue of damages


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  on summary judgment: what constitutes “one work,” under the facts of this case, for purposes of

  statutory damages. Cox’s attempt to limit how a jury is permitted to award damages is misguided.

         A. A Per-Track Award Applies, Not a Per-Album Award

         Cox baselessly argues that the Record Company Plaintiffs should be limited to one award

  of statutory damages per album, regardless of the number of individual tracks on that album that

  Cox’s subscribers indisputably infringed. (Mot. at 36-39.) But this Court has already agreed with

  those decisions holding that “[n]othing in the Copyright Act bars a plaintiff from recovering a

  statutory damage award for a sound recording [or musical composition] issued as an individual

  track, simply because that plaintiff, at some point in time also included that sound recording [or

  composition] as part of an album or other compilation.” BMG, 199 F. Supp. 3d 958, 984 (E.D.

  Va. 2015) (quoting Arista Records, LLC v. Lime Grp, LLC, No. 06-cv-5936, 2011 WL 1311771,

  at *2–3 (S.D.N.Y. Apr. 4, 2011)). Cox is precluded from re-litigating that issue. 18

         At the time of the infringement, the sound recordings in suit were published, distributed,

  and licensed by the Record Company Plaintiffs as individual works. SOAF ¶ 3. Thus, a per-track

  award applies. Sound recordings do not lose their status as individual works merely because they

  were also published as part of albums. This makes sense, as individual sound recordings have

  their own economic value, e.g., as “singles” or as separately licensable works. Id.

         B. Sound Recordings and Musical Compositions That Have Separate Copyright
            Owners are Entitled to Separate Statutory Damage Awards

         The Record Company Plaintiffs and the Music Publisher Plaintiffs are separate and distinct

  companies that own different types of works and each has suffered its own harm. Nonetheless,



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    The case that Cox relies upon for its other statutory damage argument, EMI Christian Music
  Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79, 101 (2d Cir. 2016), reached the same conclusion as this
  Court on the per-track versus per-album issue.

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  Cox asks this Court to grant summary judgment precluding Plaintiffs from recovering separate

  statutory damage awards for a sound recording and a musical composition it embodies. (Mot. at

  39-40.) Cox contends those two different types of copyrighted works are a single work for

  calculating statutory damages. A plain reading of the statutory text demands otherwise.

         Sound recordings and musical compositions are distinct copyrights. See 17 U.S.C. §

  102(a)(2) & (a)(7); see also Mot. at 25. See Newton v. Diamond, 204 F. Supp. 2d 1244, 1248-49

  (C.D. Cal. 2002) (“Sound recordings and their underlying musical compositions are separate works

  with their own distinct copyrights.”). They are separately registered as different types of works.

  SOAF ¶¶ 3-4.

         Section 504(c) precludes the same “copyright owner” (singular) from recovering multiple

  statutory damages awards when the owner holds multiple copyrights in the same work (such as in

  a derivative work and the original work on which it is based). The repeated use of the singular

  term “copyright owner” in Section 504 assumes that the same person owns multiple copyrights

  implicated by the same infringement, and necessarily limits its application to such cases. Here,

  the owner of the copyright in and to the sound recording (i.e., a Record Company Plaintiff) is

  different from the owner of the copyright in and to the musical composition (i.e., a Music Publisher

  Plaintiff). SOAF ¶ 2.

         The out-of-circuit case that Cox relies upon, EMI Christian Music Grp., Inc. v. MP3tunes,

  LLC, 844 F. 3d 79, 94-95 (2nd Cir. 2016), held that the derivative work and underlying work are

  “one work” for statutory damages even if owned separately. MP3tunes is not binding on this

  Court, nor should this Court adopt its result. MP3tunes considered the statutory text and legislative

  history but did not account for the deliberate decision by Congress to use the singular term

  “copyright owner” in the statutory provision. Nor did it apparently even consider the distinction.



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  The statutory text is unambiguous in its repeated use of the singular “copyright owner.” As Cox’s

  motion highlights, the language has a very different meaning if read in the plural. Congress knew

  how to use the plural and did not do so. The Court should follow the statutory text as it is written.

         Cox’s argument fails under the plain statutory text for the additional reason that the “one

  work” language, however interpreted, applies only to a single lawsuit (“for all infringements in the

  action”). 17 U.S.C. § 504 (c). The owner of the derivative work and the owner of the underlying

  work could avoid the unduly harsh outcome that Cox seeks by bringing separate lawsuits. All that

  would do is increase burdens on the courts and the parties. As Judge Rakoff recognized, it would

  be an absurd result if suing separately allowed rights holders to each recover their own statutory

  damages award, but if suing in the same action they are limited to a single award. Teevee Toons,

  Inc. v. MP3.com, Inc., 134 F. Supp. 2d 546, 548 (S.D.N.Y. 2001), disagreed with by, EMI

  Christian Music Grp., Inc. v. MP3tunes, LLC, 844 F. 3d 79 (2d Cir. 2016). For that reason, along

  with the statute’s use of the singular “copyright owner,” Judge Rakoff determined Congress meant

  only to preclude a single plaintiff from recovering multiple statutory damages for infringements

  of several different versions of a single work. Id.

         Before the Court are separate works with separate economic values and separate owners.

  SOAF ¶¶ 2-5. Applying the entirety of the statutory provision as written, there thus should be

  separate awards for Cox’s infringement of a Record Label Plaintiff’s sound recording infringed

  and a Music Publisher Plaintiff’s corresponding musical composition infringed.

                                           CONCLUSION

         Based on the foregoing, Plaintiffs respectfully request that the Court deny Cox’s motion

  for summary judgment in its entirety.




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  Dated: September 24, 2019                 Respectfully submitted,

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